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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


KIRK MACKEY,                                                  )
                                                              )
                              Plaintiff,                      )
                                                              )      CIVIL ACTION
vs.                                                           )
                                                              )      Case No. 4:23-CV-03689
R & B REAL ESTATE INVESTMENT COMPANY,                         )
                                                              )
                              Defendant.                      )

                                            COMPLAINT

       COMES NOW, KIRK MACKEY, by and through the undersigned counsel, and files this,

his Complaint against Defendant, R & B REAL ESTATE INVESTMENT COMPANY, pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, KIRK MACKEY (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.


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        5.      Plaintiff uses a wheelchair for mobility purposes.

        6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.      Defendant, R & B REAL ESTATE INVESTMENT COMPANY (hereinafter “R

& B REAL ESTATE INVESTMENT COMPANY”), is a Texas company that transacts business

in the State of Texas and within this judicial district.

        8.      Defendant, R & B REAL ESTATE INVESTMENT COMPANY, may be

properly served with process for service via its Registered Agent, to wit: c/o Chang Ui Im,

Registered Agent, 1211 Wirt Road, Houston, TX 77055.

                                   FACTUAL ALLEGATIONS

        9.      On or about May 3, 2023, Plaintiff intended to be a customer at “Anaiya Food

Mart,” a business located at 7640 Airline Drive, Houston, TX 77037, referenced herein as

“Anaiya”. Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached

is a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

        10.     Defendant, R & B REAL ESTATE INVESTMENT COMPANY, is the owner or



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co-owner of the real property and improvements that Anaiya is situated upon and that is the

subject of this action, referenced herein as the “Property.”

       11.     Plaintiff lives 15 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 7640 Airline Drive, Houston, TX

77037, Harris County Property Appraiser’s property identification number 1251560010001 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, R & B REAL ESTATE INVESTMENT COMPANY, is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Property, including

those set forth in this Complaint.

       13.     Defendant, R & B REAL ESTATE INVESTMENT COMPANY, as property

owner, is responsible for complying with the ADA for both the exterior portions and interior

portions of the Property. Even if there is a lease between Defendant, R & B REAL ESTATE

INVESTMENT COMPANY and the tenant allocating responsibilities for ADA compliance

within the unit the tenant operates, that lease is only between the property owner and the tenant

and does not abrogate the Defendant’s independent requirement to comply with the ADA for the

entire Property it owns, including the interior portions of the Property which are public

accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends to revisit the Property within six months after the barriers to

access detailed in this Complaint are removed and the Property is accessible again. The purpose

of the revisit is to be a return customer, to determine if and when the Property is made accessible



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and for Advocacy Purposes.

          15.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.   Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

          17.   Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.



          18.   Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services



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offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       19.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       20.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       21.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of


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               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       22.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       23.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       24.     The Property is a public accommodation and service establishment.

       25.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       26.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       27.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       28.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,



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dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       29.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Defendant, R & B REAL ESTATE INVESTMENT COMPANY, has

discriminated against Plaintiff (and others with disabilities) by denying his access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

of the Property, as prohibited by, and by failing to remove architectural barriers as required by,

42 U.S.C. § 12182(b)(2)(A)(iv).

       31.     Defendant, R & B REAL ESTATE INVESTMENT COMPANY, will continue to

discriminate against Plaintiff and others with disabilities unless and until Defendant, R & B

REAL ESTATE INVESTMENT COMPANY, is compelled to remove all physical barriers that

exist at the Property, including those specifically set forth herein, and make the Property

accessible to and usable by Plaintiff and other persons with disabilities.

       32.     A specific list of unlawful physical barriers, dangerous conditions and ADA



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violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

              i.   On the north side of the building, the access aisle to the accessible parking

                   space is not level due to the presence of an accessible ramp in the access aisle

                   in violation of Section 502.4 of the 2010 ADAAG standards. This barrier to

                   access would make it dangerous and difficult for Plaintiff to exit and enter

                   their vehicle while parked at the Property as the lift from the van may rest

                   upon the ramp and create an unlevel surface.

             ii.   On the north side of the building, the accessible curb ramp is improperly

                   protruding into the access aisle of the accessible parking space in violation of

                   Section 406.5 of the 2010 ADAAG Standards. This barrier to access would

                   make it dangerous and difficult for Plaintiff to exit and enter their vehicle

                   while parked at the Property as the lift from the van may rest upon the ramp

                   and create an unlevel surface.

            iii.   On the north side of the building, the accessible ramp side flares have a slope

                   in excess of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards.

                   This barrier to access would make it dangerous and difficult for Plaintiff to

                   access the units of the Property because steep slopes on ramp side flares could

                   cause the wheelchair to tip over and injure Plaintiff.




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     iv.   On the west side of the building near Valero, the access aisle to the accessible

           parking space is not level due to the presence of an accessible ramp in the

           access aisle in violation of Section 502.4 of the 2010 ADAAG standards. This

           barrier to access would make it dangerous and difficult for Plaintiff to exit and

           enter their vehicle while parked at the Property as the lift from the van may

           rest upon the ramp and create an unlevel surface.

     v.    On the west side of the building near Valero, the accessible curb ramp is

           improperly protruding into the access aisle of the accessible parking space in

           violation of Section 406.5 of the 2010 ADAAG Standards. This barrier to

           access would make it dangerous and difficult for Plaintiff to exit and enter

           their vehicle while parked at the Property as the lift from the van may rest

           upon the ramp and create an unlevel surface.

     vi.   On the west side of the building near Valero, the accessible ramp side flares

           have a slope in excess of 1:10 in violation of Section 406.3 of the 2010

           ADAAG standards. This barrier to access would make it dangerous and

           difficult for Plaintiff to access the units of the Property because steep slopes

           on ramp side flares could cause the wheelchair to tip over and injure Plaintiff.

    vii.   Inside Valero, the interior has walking surfaces lacking a 36 (thirty-six) inch

           clear width, due to a policy of maximizing the number of items of sale in the

           store by placing items in the accessible route, in violation of Section 403.5.1

           of the 2010 ADAAG standards. This barrier to access would make it difficult

           for Plaintiff to properly utilize public features at the Property because the




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              width of Plaintiff’s wheelchair would prevent passage through areas with a

              width less than 36 inches.

      viii.   Inside Valero, the vertical reach to the self-serve soda dispensers exceeds the

              maximum allowable height of 48 (forty-eight) inches above the finish floor or

              ground in violation of Section 308.3.1 of the ADAAG standards. This barrier

              to access would make it difficult for Plaintiff to reach the actionable

              mechanism of the drink dispenser due to the fact individuals in wheelchairs

              are seated and have lower reach ranges than individuals who stand.

       ix.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

              facilities are readily accessible to and usable by disabled individuals.

VALERO RESTROOMS

        x.    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

              2010 ADAAG standards. This barrier to access would make it difficult for

              Plaintiff and/or any disabled individual to locate accessible restroom facilities.

       xi.    The door hardware providing access to the restrooms requires tight grasping

              and twisting of the wrist in violation of Section 404.2.7 of the 2010 ADAAG

              standards. This barrier to access would make it difficult for Plaintiff and/or

              any disabled individual to utilize the restroom facilities.

       xii.   The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

              and are not insulated or configured to protect against contact in violation of

              Section 606.5 of the 2010 ADAAG standards. This barrier to access would

              make it difficult for Plaintiff and/or any disabled individual to safely utilize

              the sink as the pipes underneath the sink typically have sharp surfaces and/or



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            hot pipes, and since individuals in wheelchairs use a sink while seated, their

            legs are particularly vulnerable to these threats.

    xiii.   The height of the bottom edge of the reflective surface of the mirror in the

            bathroom is above the 40-inch maximum height permitted by Section 603.3 of

            the 2010 ADAAG standards. This barrier to access would make it difficult for

            the Plaintiff and/or any disabled individual to properly utilize the mirror in the

            restroom since Plaintiff is sitting in a wheelchair and is lower than a person

            standing up.

    xiv.    Due to the placement of the hand drying device within close proximity to the

            sink, the restrooms have fixtures with inadequate clear floor space in violation

            of Sections 606.2, 603.2 and 604.3 of the 2010 ADAAG standards. This

            barrier to access would make it difficult for Plaintiff and/or any disabled

            individual to safely utilize the restroom facilities.

     xv.    The restrooms have grab bars adjacent to the commode which are not in

            compliance with Section 604.5 of the 2010 ADAAG standards as the rear bar

            is not 36 inches in length. This barrier to access would make it difficult for

            Plaintiff and/or any disabled individual to safely transfer from the wheelchair

            to the toilet and back to the wheelchair.

    xvi.    The restrooms have grab bars adjacent to the commode which are not in

            compliance with Section 604.5.2 of the 2010 ADAAG standards as the rear

            bar does not properly extend at least 24 inches from the centerline of the

            toilet. This barrier to access would make it difficult for Plaintiff and/or any

            disabled individual to safely transfer from the wheelchair to the toilet and



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                    back to the wheelchair.

       33.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       34.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       35.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       36.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       37.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, R & B

REAL ESTATE INVESTMENT COMPANY, has the financial resources to make the necessary

modifications. According to the Property Appraiser, the Appraised value of the Property is

$1,693,675.00.

       39.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       40.       Upon information and good faith belief, the Property has been altered since 2010.



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          41.   In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

          42.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

R & B REAL ESTATE INVESTMENT COMPANY, is required to remove the physical barriers,

dangerous conditions and ADA violations that exist at the Property, including those alleged

herein.

          43.   Plaintiff’s requested relief serves the public interest.

          44.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, R & B REAL ESTATE INVESTMENT COMPANY.

          45.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, R & B REAL ESTATE INVESTMENT COMPANY, pursuant to 42

U.S.C. §§ 12188 and 12205.

          46.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, R & B

REAL ESTATE INVESTMENT COMPANY, to modify the Property to the extent required by

the ADA.

          WHEREFORE, Plaintiff prays as follows:

          (a)   That the Court find Defendant, R & B REAL ESTATE INVESTMENT

                COMPANY, in violation of the ADA and ADAAG;

          (b)   That the Court issue a permanent injunction enjoining Defendant, R & B REAL

                ESTATE INVESTMENT COMPANY, from continuing their discriminatory



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       practices;

 (c)   That the Court issue an Order requiring Defendant, R & B REAL ESTATE

       INVESTMENT COMPANY to (i) remove the physical barriers to access and (ii)

       alter the Property to make it readily accessible to and useable by individuals with

       disabilities to the extent required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: September 30, 2023

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
                                     7301-A W. Palmetto Park Rd., #100A
                                     Boca Raton, FL 33433
                                     Tel: (561) 807-7388
                                     Email: schapiro@schapirolawgroup.com




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